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                             SO UTH ERN D ISTR ICT O F FLOW D A
                               CAVE NO.19-60280-CR-M aTONAGA

   UNITED STATES O F A M ERICA

   VS.

   W CTO R FO SSI GRIECO ,

                 D efendant.
                                       /

                                       FA CTUA L PR O FFER

          H ad this case proceeded to trial,the United States would have proven the follow ing facts

   beyond a reasonable doubt:

          On or about Septem ber 20,2019, Victor FossiGrieco flew a private airplane w ith tail
                                                                                                       e
   num berYV3325 from Caracas,Venezuelato FortLauderdaleExecutiveA irport. Upon arrivalat

   theinspectionstation,CustomsandBorderProtection($çCBP'')ofticersconductedanexamination
   ofplane. Insidethenose ofthe plane,CBP officersfound num erous barsofgold hidden undera

   solid m etalcovering. Law enforcem entoffcers w eighed the gold seized from the plane and it

   weighed approximately 130 pounds. The gold has an estim ated value ofapproximately $4.6
   m illion.

          Upon anivalatFo14 Lauderdale Executive Airport,FossiGrieco m etw ith CBP Officers

   and stated he did nothave any m erchandiseto declare. UnderU .S.custom slaw ,thetype ofgold

   barshidden in thenose m ustbe declared to custom sasm erchandise.
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            Afterreceiving and w aiving hisM iranda rights,FossiGrieco stated thathe had agreed to

 ' pick up gold from persons in Venezuela to bring into the U nited States. FossiGrieco said he

   stored the gold in the nose com partm entofthe gold.FossiGrieco stated thathe knew he had to

   repol'
        tthe gold to custom s in the United States,buthe did notdo so. FossiGrieco furtherstated

   that he w ould receive a fee from another co-conspirator for transporting the gold. Law

   enforcem entsearched the phone ofFossiGrieco and found textm essages with co-conspirators

   relating to the sm uggling ofgold from V enezuela into the United States.




                                               ARIANA FAJARDO ORSHAN
                                               UN ITED STA TES ATTORN EY

   Ilate: /l-f-/                        By:' < W.
                                                   M ICH AEL N .BERGER
                                                   ASSISTAN T UN ITED STATES ATTORNEY


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